             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 1 of 39 Page ID #:23135
                                           UNITED STATES v. RAYMOND CHAN
                                                  CR 20-236(a)-JFW-2

                                               DEFENDANT’S EXHIBIT LIST

Def. Ex. #                  Description                    Witness     Gov. Objection         Def. Response   Other Source
                                                   1 – RELATED DOCUMENTS
  2000       1st Superseding Indictment                     Chan     Cat. 1 - Indictment
                                                                   Cat. 2 – Def.’s Hearsay;
  2001       2018-11-07 Chan FBI Interview #1               Chan    Cat. 11 - Transcript is
                                                                         not evidence
             2018-11-07 FBI Interview Chan                          No objection if for ID
  2002                                                      Chan
             Casino_0172523 – 1 (Identification Only)                        only
             2018-11-07 FBI Interview Chan                          No objection if for ID
  2003                                                      Chan
             Casino_0172524 – 2 (Identification Only)                        only
                                                                   Cat. 2 – Def.’s Hearsay;
  2004       2018-11-08 Chan FBI Interview #2               Chan    Cat. 11 - Transcript is
                                                                         not evidence
             Huizar Extraction Report Cover Sheet P.1 &
  2005                                                      Chan         No objection
             P.2 (Identification Only) Casino_0172692
                                                                      Cat. 7 – Chiang’s
                                                                           Hearsay;
  2006       Chiang Exhibit C Casino_0369003                Chan
                                                                     Cat. 6 – Paramount;
                                                                    Duplicate of Ex. 2428
             Chiang Extraction Report - Cover Pages P.1
  2007                                                      Chan         No objection
             & P.2 (Identification Only) Casino_0202394
             George's Phone Linesheet For Identification
  2008                                                      Chan         No objection
             Purposes Only - P.1
  2009       Los Angeles City Ethics Handbook 2019          Chan         No objection
                                                          Chan
  2010       Los Angeles City Ethics Ordinance 2020                      No objection
                                                           Jeremy
             Los Angeles City Ethics Commission -         Chan
  2011                                                                   No objection
             Revolving Door Brochure                       Jeremy
                                                                      403 – confusing;
             Cal. Code. Regs. 14 Section 15268 –          Chan
  2012                                                              statutory text of code
             “Ministerial Projects” Defined                Jeremy
                                                                            section
                                                          Chan
  2013       LA City Municipal Lobbying Ordinance                        No objection
                                                           Jeremy


                                                                                                                             1
              Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 2 of 39 Page ID #:23136
                                              UNITED STATES v. RAYMOND CHAN
                                                     CR 20-236(a)-JFW-2

                                                  DEFENDANT’S EXHIBIT LIST

Def. Ex. #                     Description                   Witness       Gov. Objection         Def. Response   Other Source
              2017-04-16 Report to the Industry Video                    No objection if for ID
   2014
              (Identification only)                                              only
   2015       2017-04-16 Report to the Industry Highlights              Cat. 2 – Def.’s Hearsay
2016 - 2099   Placeholder
                                                             2 - SZNW
              2013-06-13 Evan's letter to withdraw USC
   2100                                                       Chan           No objection
              application Casino_0026662
              2013-09-01 Radar (Landscape, Evan's class,
   2101                                                       Chan           No objection
              & other help) Casino_0026855
              2014-05-01 to 2014-07-31 Chan and Yung
   2102       helped Huang with wine collection               Chan           No objection
              Casino_0027376
              2013-05-20 Radar - Landscape
   2103                                                       Chan           No objection
              Casino_0026648
              2013-06-17 Radar - Other Projects
   2104                                                       Chan           No objection
              Casino_0026681
              2014-01-06 Radar - Other Projects
   2105                                                       Chan           No objection
              Casino_0027039
              2015-08-14 Radar - Other Projects
   2106                                                       Chan           No objection
              Casino_0027845
   2107       Intentionally Omitted
   2108       Intentionally Omitted
   2109       Intentionally Omitted
   2110       Intentionally Omitted
   2111       Intentionally Omitted
   2112       Intentionally Omitted
   2113       Intentionally Omitted
   2114       Intentionally Omitted
   2115       Intentionally Omitted
              2014-02-22 Hotel Remodeling Progress
   2119                                                       Chan           No objection
              Casino_2000634
   2120       Intentionally Omitted


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             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 3 of 39 Page ID #:23137
                                         UNITED STATES v. RAYMOND CHAN
                                                CR 20-236(a)-JFW-2

                                             DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description              Witness   Gov. Objection   Def. Response   Other Source
  2121       Intentionally Omitted
  2122       Intentionally Omitted
  2123       Intentionally Omitted
  2124       Intentionally Omitted
  2125       Intentionally Omitted
  2126       Intentionally Omitted
  2127       Intentionally Omitted
  2128       Intentionally Omitted
  2129       Intentionally Omitted
  2130       Intentionally Omitted
             2014-01-26 Draft Tim Cho's duties for
  2131                                                 Chan      No objection
             Huang Casino_0027107
  2132       Intentionally Omitted
  2134       2013-06-17 Radar - SZNW Casino_0026681    Chan      No objection
  2135       2013-09-01 Radar - SZNW Casino_0026855    Chan      No objection
  2136       2013-12-01 Radar - SZNW Casino_0027036    Chan      No objection
  2137       Intentionally Omitted
  2138       Intentionally Omitted
  2139       Intentionally Omitted
  2140       Intentionally Omitted
  2141       Intentionally Omitted
             2014-04-03 Hotel Union Negotiation –
  2142                                                 Chan      No objection
             Questions Casino_2000418
             Status Sheraton & Union negotiation
  2143                                                 Chan      No objection
             Casino_0027412
  2144       Intentionally Omitted
  2145       Intentionally Omitted
             2013-10-28 to 2013-11-01 Text Huizar,
  2146                                                 Chan      No objection
             Chan re Golden Hill Casino#2084819
             2013-10-09 to 2013-10-14 Texts Huizar,
  2147                                                           No objection
             Chan re Golden Hill Casino#2084813
  2148       Intentionally Omitted

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             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 4 of 39 Page ID #:23138
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                    Witness       Gov. Objection         Def. Response   Other Source
  2149       Intentionally Omitted
             2013-11-05 Texts Huizar, Chan
  2150       Casino_2084821 re call with Harris C. and       Chan          No objection
             Greg C.
             2013-12-13 Email Clark, Huizar re Golden
  2151                                                       Chan          No objection
             Hill Proposal Casino_0000094
             2013-12-13 Clark's Letter to Golden Hill
  2152                                                       Chan          No objection
             Casino_0000095
  2153       Intentionally Omitted
  2154       Intentionally Omitted
  2155       Intentionally Omitted
  2156       Intentionally Omitted
                                                                      Cat. 2 – Def.’s Hearsay;
  2157       2018-11-07 Chan FBI Interview - p17 - 18        Chan      Cat. 11 - Transcript is
                                                                            not evidence
             2013-05-15 Email Nash, Esparza, Harris C.
  2158                                                       Chan          No objection
             re China Delegation Casino_0004093
             2013-05-15 Email Nash, Esparza, Harris C.
  2159                                                       Chan          No objection
             re China Delegation Casino_0004094
             2013-05-16 Email Nash, Esparza, Harris C.
  2160                                                       Chan          No objection
             re China Delegation Casino_0004095
  2161       Intentionally Omitted
             2013-06-11 Email Chan, Esparza re China
  2162                                                       Chan          No objection
             Delegation Casino_0004126
             2013-06-20 Shenzhen City's Invitation Letter
  2163                                                       Chan          No objection
             Casino_0004158
             2013-06-25 Email Nash, Esparza, Harris C.
  2164                                                       Chan          No objection
             re China Delegation Casino_0004166
             2013-06-25 Email Nash, Esparza, Harris C.
  2165                                                       Chan          No objection
             re China Delegation Casino_0004168
             2013-06-26 Email Nash, Esparza, Harris C.
  2166                                                       Chan          No objection
             re China Delegation Casino_0004170


                                                                                                                                4
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 5 of 39 Page ID #:23139
                                            UNITED STATES v. RAYMOND CHAN
                                                   CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                  Witness   Gov. Objection   Def. Response   Other Source
             2013-06-26 Email Nash, Esparza, Harris C.
  2167                                                     Chan      No objection
             re China Delegation Casino_0004171
             2013-06-27 Email Nash, Esparza, Harris C.
  2168                                                     Chan      No objection
             re China Delegation Casino_0004173
             2013-06-27 Email Nash, Esparza, Harris C.
  2169                                                     Chan      No objection
             re China Delegation Casino_0004178
             2013-06-27 Email Nash, Esparza, Harris C.
  2170                                                     Chan      No objection
             re China Delegation Casino_0004180
             2013-06-27 Email Nash, Esparza, Harris C.
  2171                                                     Chan      No objection
             re China Delegation Casino_0004181
             2013-06-27 Email Nash, Esparza, Harris C.
  2172                                                     Chan      No objection
             re China Delegation Casino_0004182
             2013-06-27 Email Nash, Esparza, Harris C.
  2173                                                     Chan      No objection
             re China Delegation Casino_0004184
             2013-06-27 Email Nash, Esparza, Harris C.
  2174                                                     Chan      No objection
             re China Delegation Casino_0004187
             2013-06-06 Email Nash, Esparza, Harris C.
  2175                                                     Chan      No objection
             re China Delegation Casino_0004112
             2013-06-06 Email Nash, Esparza, Harris C.
  2176                                                     Chan      No objection
             re China Delegation Casino_0004119
             2013-07-01- Email Nash, Esparza, Harris re
  2177                                                     Chan      No objection
             China Delegation C. Casino_0004190
             2013-07-01 Email Nash, Esparza, Harris C.
  2178                                                     Chan      No objection
             re China Delegation Casino_0004192
             2013-07-01 Email Nash, Esparza, Harris C.
  2179                                                     Chan      No objection
             re China Delegation Casino_0004194
             2013-07-01 Email Nash, Esparza, Harris C.
  2180                                                     Chan      No objection
             re China Delegation Casino_0004196
             2013-07-02 Email Nash, Esparza, Harris C.
  2181                                                     Chan      No objection
             re China Delegation Casino_0004213
             2013-07-02 Email Nash, Esparza, Harris C.
  2182                                                     Chan      No objection
             re China Delegation Casino_0004217


                                                                                                                    5
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 6 of 39 Page ID #:23140
                                              UNITED STATES v. RAYMOND CHAN
                                                     CR 20-236(a)-JFW-2

                                                  DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                  Witness         Gov. Objection         Def. Response   Other Source
             2013-07-02 Email Nash, Esparza, Harris C.
  2183                                                      Chan           No objection
             re China Delegation Casino_0004220
             2013-07-02 Email Nash, Esparza, Harris C.
  2184                                                      Chan           No objection
             re China Delegation Casino_0004223
             2013-07-02 Email Nash, Esparza, Harris C.
  2185                                                      Chan           No objection
             re China Delegation Casino_0004226
                                                                             Relevance;
             Shenzhen Government Website - L.A. is
  2186                                                      Chan          Authentication;                            ???
             Friendship City
                                                                                 403
                                                                      Cat. 2 – Def.’s Hearsay;
  2187       2018-11-07 Chan FBI Interview - p42 - 44       Chan       Cat. 11 - Transcript is
                                                                            not evidence
             2015-04-19 Radar re Gaba Available Floor
  2189                                                      Chan           No objection
             Area Calculation Casino_0027699
  2190       Intentionally Omitted
  2191       Intentionally Omitted
  2192       Intentionally Omitted
  2193       Intentionally Omitted
  2194       2016-07-29 Email DiMarzio, Huang re            Chan,
                                                                           No objection
             Project Program Casino_0720805               DiMarzio
             2016-08-02 08-04-16 LA Hotel Meeting -         Chan,
  2195                                                                     No objection
             invitation Casino_0381638                    DiMarzio,
             2016-08-05 Kuk's minute on 8-4 meeting
  2196                                                      Chan           No objection
             Casino_0059841
  2198       Intentionally Omitted
                                                                         Cat. 4 – Ovrom;
             2012-07-09 State's Certification Req for       Chan
  2199                                                                 403 - Statutory text of
             Building Official 2006 Casino_0368707        Yutronich
                                                                            code section
             2012-07-09 Ovrum's letter to City Attorney     Chan
  2200                                                                    Cat. 4 – Ovrom
             Casino_0368726                               Yutronich
             2012-09-12 DBS Employees questioned            Chan
  2201                                                                    Cat. 4 – Ovrom
             Ovrum's qualification Casino_0368732         Yutronich


                                                                                                                                6
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 7 of 39 Page ID #:23141
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                     DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                    Witness        Gov. Objection         Def. Response   Other Source
             2012-09-17 Ovrum assigned Chan as                Chan
  2202                                                                     Cat. 4 – Ovrom
             Building Official Rep Casino_0368731           Yutronich
             2013-02-18 Ovrum's response to Englander's       Chan
  2203                                                                     Cat. 4 – Ovrom
             motion Casino_0368631                          Yutronich
  2204       Intentionally Omitted
  2205       Intentionally Omitted
             2013-05-07 Ovrom became Executive               Chan         Cat. 4 – Ovrom;
  2206                                                                                                            Online Article
             Director of Convention Center                 Yutronich    Cat. 5 – News Article
             2013-05-10 Chan Layoff Summary                  Chan
  2207                                                                  Cat. 2 – Def.’s Hearsay
             Casino_0026650                                Yutronich
                                                           Chan
             2013-10-27 - Garcetti's Consolidation
  2208                                                     Yutronich       Cat. 4 – Ovrom
             Opposition Casino_0368798
                                                           Goodwin
                                                           Chan
             2013-05-24 Harbor Gateway Neighborhood
  2209                                                     Yutronich       Cat. 4 – Ovrom
             Council's Letter Casino_0368735
                                                           Goodwin
             2013-09-24 Bob Maguire's Letter to Garcetti   Chan
  2210                                                                     Cat. 4 – Ovrom
             Casino_0368787                                Goodwin
             2013-10-28 Budget & Finance
  2211                                                        Chan           No objection                            Online?
             Recommendation to City Council
             2013-10-07 Email Huizar, Chan                              Cat. 12 –Govt Exhibit
  2212                                                        Chan
             Casino_0004261 to 0004265                                        (Ex. 330)
  2213       Intentionally Omitted
             2013-11-04 Garcetti Letter to Appoint Chan
  2214                                                        Chan           No objection                            Online?
             as Interim GM
             2013-11-05 Email Chan, Huizar to restore
  2215       City staff budget and positions                  Chan           No objection
             Casino_0000065
             2013-11-05 Email Chan, Huizar to restore
  2216       City staff budget and positions                  Chan           No objection
             Casino_0000066



                                                                                                                                   7
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 8 of 39 Page ID #:23142
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                  DEFENDANT’S EXHIBIT LIST

Def. Ex. #                    Description                  Witness       Gov. Objection         Def. Response   Other Source
             2013-11-05 Text Huizar, Chan re asking
  2217       Huizar to amend to restore staff budget and    Chan          No objection
             positions Casino_2084786
  2220       Intentionally Omitted
             2013-12-17 Mayoral Action to Restore City
  2221                                                      Chan          No objection
             Staff Positions and Funding
  2223       Intentionally Omitted
             2013-09-16 Email Huizar, Chan re
  2224       Logrande’s Campaign Against Price-             Chan          No objection
             LaBonge Motion Casino_0000033 to 40
  2225
             Intentionally Omitted
             2014-02-20 CAO and CLA on Matrix Report
  2226       Casino_1999754 (For p.11-609, please see       Chan          No objection
             digital copy)
             2014-04-16 Mayoral Action to Appoint Chan
  2228                                                      Chan          No objection
             as GM Casino_0027269
  2229       Intentionally Omitted
  2230       Intentionally Omitted
             2013-08-13 LA Times - Sexual Harassment
  2231                                                      N/A       Cat. 5 – News Article                     Online Article
             Complaint
  2232       Intentionally Omitted
  2233       Intentionally Omitted
                                                                     Cat. 2 – Def.’s Hearsay;
  2234       2018-11-08 Chan FBI Interview - p.7 -8         Chan      Cat. 11 - Transcript is
                                                                           not evidence
             2013-10-17 LA Times - Sexual Harassment
  2235                                                      Chan      Cat. 5 – News Article                     Online Article
             Lawsuit 10-17-2013
             2014-09-05 Daily News - Gloria Molina
  2236                                                      Chan      Cat. 5 – News Article                     Online Article
             Announced CD14 Run
  2237       Intentionally Omitted
  2238       Intentionally Omitted


                                                                                                                                 8
              Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 9 of 39 Page ID #:23143
                                               UNITED STATES v. RAYMOND CHAN
                                                      CR 20-236(a)-JFW-2

                                                     DEFENDANT’S EXHIBIT LIST

Def. Ex. #                     Description                     Witness       Gov. Objection         Def. Response   Other Source
              14-7 July - Table - 76 Emails for Fund
                                                                                                                     Refer to the
   2239       Process - see Folder - 76 emails for Fund         Chan      Cat. 2 – Def.’s Hearsay
                                                                                                                       Emails
              Process
   2240       Intentionally Omitted
   2241       Intentionally Omitted
   2242       Intentionally Omitted
2243 -2298    Placeholder
              2015-02-03 & 2015-11-22, 2016-03-26,
              2016-05-01 & 2015-07-24 Select 2015 and
   2299       2016 Radar Screens – Govt                         Chan       Exhibit Not Provided
              Casino#0027724-26, 0027982-84, 0028005-
              07, 0028138-40, 0028234-37, 0028394-97
                                                                            Cat. 3 - Improper
   2300       Chart for OA 2 coordinate trip - emails           Chan
                                                                             Summary Chart
   2301       Counts 22, 2, 3, and 4                            Chan        Cat. 1 - Indictment
                                                                            Cat. 3 - Improper
   2302       Timeline 1 - Chan Helped Huang                    Chan
                                                                             Summary Chart
                                                                            Cat. 3 - Improper
              Timeline 2 - Consolidation from Proposal to
   2303                                                         Chan         Summary chart;
              Termination
                                                                             Cat. 4 – Ovrom
              Timeline 3 - Two times Huizar asked Huang                     Cat. 3 - Improper
   2304                                                         Chan
              for settlement fund                                            Summary chart
                                                                            Cat. 3 - Improper
   2305       Timeline 4 - L.A. Grand Hotel Project             Chan
                                                                             Summary chart
2306 - 2320   Placeholder
                                                        3 – FALSE STATEMENTS
                                                                       Cat. 2 – Def.’s Hearsay;
              2018-11-07 Chan Transcript for False
   2321                                                         Chan    Cat. 11 - Transcript is
              Statements 2
                                                                             not evidence
              2018-11-07 Audio Clips 00.49.03 -
   2322                                                         Chan      Cat. 2 – Def.’s Hearsay
              00;54.41.mov Cas. 0172523
              2018-11-07 Audio Clips 01.26.53 -
   2323                                                         Chan      Cat. 2 – Def.’s Hearsay
              01.27.45.mov Cas. 172523

                                                                                                                                    9
              Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 10 of 39 Page ID #:23144
                                               UNITED STATES v. RAYMOND CHAN
                                                      CR 20-236(a)-JFW-2

                                                    DEFENDANT’S EXHIBIT LIST

Def. Ex. #                     Description                  Witness        Gov. Objection       Def. Response   Other Source
               2018-11-07 Audio Clips 00.07.20 -
   2324                                                      Chan     Cat. 2 – Def.’s Hearsay
               00.08.12.mov Cas. 172523
               2018-11-07 Audio Clips 00.42.13 -
   2325                                                      Chan     Cat. 2 – Def.’s Hearsay
               00.43.13.mov Cas. 172524
   2326        Counts 39                                     Chan         Cat. 1 – Indictment
               Timeline 1 - 18-11-7 False Statement 1 -                    Cat. 3 - Improper
   2327                                                      Chan
               Involved w Settlement                                        Summary chart
               Timeline 2 - 18-11-7 False Statement 2 -                    Cat. 3 - Improper
   2328                                                      Chan
               didn't need Huizar's help                                    Summary chart
2329 - 2349    Placeholder
                                                           4 – LUXE PAC
   2350        Intentionally Omitted
   2351        Intentionally Omitted
   2352        Intentionally Omitted
               2018-01-11 Text Huizar, Chiang re Meeting
   2353                                                      Chan            No objection
               Casino_0202394
   2354        Intentionally Omitted
   2355        Intentionally Omitted
   2356        Intentionally Omitted
   2357        Intentionally Omitted
               2018-01-27 Text Huizar, Chiang re 1st
   2358                                                      Chan            No objection
               Meeting Casino_0202394
   2359        Intentionally Omitted
               2018-03-05 Chang's PAC Form
   2360                                                      Chan            No objection
               Casino_0370717
   2361        Intentionally Omitted
               2018-03-29 Text Huizar, Chiang re Huizar
   2362                                                      Chan            No objection
               House Meeting Casino_0202394
               2018-04-16 Text Huizar, Chiang re 3rd
   2363                                                      Chan            No objection
               Meeting Casino_0202394
   2364        Intentionally Omitted



                                                                                                                           10
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 11 of 39 Page ID #:23145
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                    Description                 Witness      Gov. Objection         Def. Response   Other Source
              2018-04-20 Transcript Chan, Afriat re
                                                                    Cat. 11 - Transcript is
  2365        Foreign Nationals, US companies, & PAC       Chan
                                                                        not evidence
              Contributions Casino_1998901-03
              2018-04-20 Transcript Chan, Chiang re
                                                                    Cat. 11 - Transcript is
  2366        Foreign Nationals, US companies, & PAC       Chan
                                                                        not evidence
              Contributions Casino_1998904
  2367        Intentionally Omitted
  2368        Intentionally Omitted
  2369        2018-05-13 Text Huizar, Chiang re Meeting    Chan         No objection

              2020-04-07 Chiang Interview re Huizar                   Cat. 7 – Chiang’s
  2370                                                     Chan
              Casino#0370705-11                                            Hearsay

              2018-05-18 Text Huizar, Chiang re Meeting
  2371                                                     Chan         No objection
              Casino_0202394
  2372        Intentionally Omitted
  2373        Intentionally Omitted
              2018-07-23 Text Huizar, Chiang re Huizar
  2374                                                     Chan         No objection
              Follow-up for PAC Casino_2085024…
              2018-07-29 Text Huizar, Chiang Huizar
  2375                                                     Chan         No objection
              Follow-up for PAC Casino_2085024,,,
              2018-09-14 Boyle Heights Beat Article re
  2376                                                     Chan         No objection                          Online Article
              Richelle's Run
              2018-09-20 LA Times re New Huizar
  2377                                                     Chan     Cat. 5 – News Article                     Online Article
              Complaint
              2018-10-07 Radar for Synergy
  2378                                                     Chan         No objection
              Casino_0380867
              2018-10-08 Text Chiang-Chan re Huizar
  2379                                                     Chan         No objection
              Breakfast Casino_0202394
  2380        Intentionally Omitted
  2381        Intentionally Omitted
  2382        Intentionally Omitted


                                                                                                                          11
              Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 12 of 39 Page ID #:23146
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                DEFENDANT’S EXHIBIT LIST

Def. Ex. #                     Description                Witness        Gov. Objection       Def. Response   Other Source
  2383         Intentionally Omitted
  2384         Intentionally Omitted
                                                                       Cat. 1 – Indictment;
   2385        Timeline - PAC $100,000                      Chan        Cat. 3 – Improper
                                                                         summary chart
2386 – 2407    Placeholder
                                                  5 – GEORGE CHIANG AND LUXE
   2408        Intentionally Omitted
               2014-11-01 Chiang's 1st Consulting
   2409                                                      Chan        No objection
               Agreement with Jua Yuan
               2016-03-13 Chiang's 1st Amendment to 1st    Chan
   2410        Consulting Agreement 14-11-1 with Jia        Jeremy       No objection
               Yuan                                          Chan
   2411        Intentionally Omitted
   2412        Intentionally Omitted
   2413        Intentionally Omitted
               2017-01-21 Chiang's 2nd Consulting          Chan
   2414                                                                  No objection
               Agreement with Jia Yuan
               2017-01-26 Text Chan, Chiang, Lincoln re             Cat. 12 – Govt. Exhibit
   2417                                                      Chan
               Hazens Meeting Casino#2085040-41                           (Ex. 592E)
               2017-01-26 Text Yuan, Chiang Chiang
                                                                      Cat. 7 – Chiang’s
   2419        Extraction Report p. 8816 re Hazens           Chan
                                                                           Hearsay
               Meeting
   2420        Intentionally Omitted
   2421        Intentionally Omitted
   2422        Intentionally Omitted
   2424        Intentionally Omitted
               2017-03-28 Text Chiang, Lee - Chiang
                                                                    Cat. 9 – Overinclusive
   2425        Extraction Report p. 9050 re Chiang Update    Chan
                                                                        Text Messages
               and 3/28/2017 Dinner Meeting
               2017-03-28 Chiang told Yuan not getting                Cat. 7 – Chiang’s
   2426                                                      Chan
               pay - Chiang Extraction 0202394 -p9047                      Hearsay


                                                                                                                         12
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 13 of 39 Page ID #:23147
                                            UNITED STATES v. RAYMOND CHAN
                                                   CR 20-236(a)-JFW-2

                                                DEFENDANT’S EXHIBIT LIST

Def. Ex. #                    Description                 Witness     Gov. Objection        Def. Response   Other Source
  2427        Intentionally Omitted
                                                                     Cat. 7 – Chiang’s
                                                          Chan
  2428        Chiang Exhibit C Casino_0369003                             Hearsay;
                                                           Jeremy
                                                                    Duplicate of Ex. 2006
              2014-07-24 Letter to USCIS
  2433                                                      Chan        No objection
              Casino_0027385
  2434        2014-08-25 Radar Casino_0027514               Chan        No objection
  2435        2014-08-04 Radar Casino_0027511               Chan        No objection
  2436        Intentionally Omitted
  2437        Intentionally Omitted
              2015-08-02 Email Chiang, Chan re Hazens
                                                            Chan
  2438        TFAR issue Casino_0027839, 0027899-                       No objection
                                                           Jeremy
              0027901/0162921-22
              2015-12-21 Paramount re All Documents       Chan
  2439                                                               Cat. 6 - Paramount
              Casino_0028008-11                            Jeremy
              2015-12-27 Paramount re Research for Scam   Chan
  2440                                                               Cat. 6 - Paramount
              Casino_0028079                               Jeremy
  2441        2015-12-27 Paramount re Questions and       Chan
                                                                     Cat. 6 - Paramount
              Progress Summary Casino_0028080-82           Jeremy
              2015-12-28 Paramount re Questions and       Chan
  2442                                                               Cat. 6 - Paramount
              Progress Summary Casino_0028084-87           Jeremy
              2016-01-11 Internship Johnny Lee                           Relevance;
  2443                                                      Chan
              Casino_0369012                                                403
              2016-03-14 Paramount re Update from         Chan
  2444                                                               Cat. 6 - Paramount
              Clinton Casino_0028132-33, 0028158           Jeremy
              2016-04-09 Email W Hotel's Construction     Chan
  2445                                                                  No objection
              Schedule Casino_0028162
              2016-05-10 Email Chan, Hazens Consultants
  2446                                                      Chan        No objection
              re DOT Issues Casino_0083603
              2016-05-15 Email Chan, S Keyser
                                                          Chan
  2447        Paramount re Golden Mountain website                   Cat. 6 - Paramount
                                                           Jeremy
              Casino_0028279


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             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 14 of 39 Page ID #:23148
                                              UNITED STATES v. RAYMOND CHAN
                                                     CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                    Description                  Witness      Gov. Objection         Def. Response   Other Source
              2016-05-22 Email Chan, Jeremy, Chiang re    Chan
  2448                                                                Cat. 6 - Paramount
              Paramount Scam Casino_0028280-84             Jeremy
              2016-07-02 Paramount re Letter to Scammer   Chan
  2449                                                                Cat. 6 - Paramount
              Casino_0028345-0028352                       Jeremy
              2016-09-15 Luxe Major Project
                                                          Chan
  2450        Development Meeting Invitation                             No objection
                                                           Janoyan
              Casino_0381644
  2451        Intentionally Omitted
              2017-03-27 Text Consultants re Oceanwide
  2452                                                      Chan         No objection
              issues Casino_0202394
              2014-01-14 Invitation to Hazens Event
  2453                                                      Chan         No objection
              Casino_0027045
              2014-01-23 Email - Chan, Chiang                        Cat. 12 –Govt Exhibit
  2454                                                      Chan
              Introduction Casino_0027049-50                               (Ex. 530)
                                                          Chan
  2455        Pictures - Chan and Disciples                Jeremy,       No objection
                                                            Cheng
                                                          Chan
  2456        Nametags - Chan and Disciples                Jeremy,       No objection
                                                            Cheng
                                                                      Cat. 7 – Chiang’s
              2017-06-21 Call Chan, Chiang                                 Hearsay;
  2458                                                      Chan
              Casino_0052469-70                                      Cat. 11 - Transcript is
                                                                         not evidence
                                                                      Cat. 7 – Chiang’s
              2017-06-21 Call Chiang, Kent re $20,000                      Hearsay;
  2459                                                      Chan
              loan Casino_0052468-69                                 Cat. 11 - Transcript is
                                                                         not evidence
                                                                      Cat. 7 – Chiang’s
              2017-06-21 to 2017-06-22 Text Chiang,                        Hearsay;
  2460                                                      Chan
              Kent re $20,000 loan Casino_0052471                      Cat. 8 – Missing
                                                                          Translation;


                                                                                                                          14
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 15 of 39 Page ID #:23149
                                            UNITED STATES v. RAYMOND CHAN
                                                   CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                 Witness       Gov. Objection          Def. Response   Other Source
                                                                     Cat. 11 - Transcript is
                                                                         not evidence
                                                                      Cat. 7 – Chiang’s
              2017-06-22 Call Chan, Chiang re $20,000                      Hearsay;
  2457                                                     Chan
              loan.wav                                                 Cat. 8 – Missing
                                                                          Translation
                                                                      Cat. 7 – Chiang’s
              2017-06-22 Call Chan, Chiang re $20,000                      Hearsay;
  2461                                                     Chan
              loan                                                   Cat. 11 - Transcript is
                                                                         not evidence
              2017-06-22 Text Chan, Chiang re $20,000                 Cat. 7 – Chiang’s
  2462                                                     Chan
              loan Casino_0052474                                           Hearsay
                                                         Chan
              2017-10-24 A Team Functions                              Cat. 8 – Missing
  2463                                                    Galstian
              Casino_0964881                                             Translation
                                                         Hernandez
              2017-11 17 The Burbank Apartment             Chan,       Cat. 8 – Missing
  2464
              Brochure                                    Chiang         Translation
                                                           Chan,       Cat. 8 – Missing
  2465        Broadway Project Brochure Casino_0028841
                                                          Chiang         Translation
                                                                       Cat. 8 – Missing
  2466        A Team Brochure Casino_0028883               Chan
                                                                         Translation
  2467        Soto Property Brochure Casino_0964400        Chan         No objection
  2468        Yucca Apartment rochure Casino_2000749       Chan         No objection
                                                                       Cat. 8 – Missing
  2469        Province Brochure Casino_2001808             Chan
                                                                         Translation
              1-page Building Permit Involvement                       Cat. 8 – Missing
  2470                                                     Chan
              Casino_2002518                                             Translation
              Tribeca Apartment Brochure                                No objection
  2471                                                     Chan
              Casino_2002522
              Broadway, Hill, Main Brochure                              No objection
  2472                                                     Chan
              Casino_2002523
              Development in Downtown Presentation                       No objection
  2473                                                     Chan
              Casino_2002529

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             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 16 of 39 Page ID #:23150
                                              UNITED STATES v. RAYMOND CHAN
                                                     CR 20-236(a)-JFW-2

                                                   DEFENDANT’S EXHIBIT LIST

Def. Ex. #                     Description                 Witness       Gov. Objection         Def. Response   Other Source
              How to Prepare Sales Package for Real                       No objection
  2474                                                       Chan
              Estate Properties Casino_2002555
              2017-07-06 Call Chiang, Lee, Chan re                    Cat. 11 - Transcript is
  2475                                                       Chan
              bicycle parking Casino_0052607                               not evidence
              2017-08-19 Chiang's CPC Script               Chan         Cat. 7 – Chiang’s
  2476
              Casino_2000962                                Jeremy           Hearsay
              2017-08-19 Text Chan, Chiang re Yuan                    Cat. 9 – Overinclusive
  2477                                                       Chan
              discussion Casino_0202394                                   Text Messages
                                                                      Cat. 11 - Transcript is
              2017-08-28 Call Chan, George Chavez re
  2478                                                       Chan    not evidence (12-minute
              potential real estate deals Casino_1998186
                                                                            recording)
              2017-08-30 Call Chan, Chiang re Carol                   Cat. 11 - Transcript is
  2479                                                       Chan
              Schutz Casino_1998213                                        not evidence
                                                                           No objection
  2480        2017-09-02 Yucca Pitch Casino_0052822          Chan
                                                                      (Description incorrect)
              2017-09-06 Chan & Chavez re Bel Air                     Cat. 11 - Transcript is
  2481                                                       Chan
              Casino_1998326                                               not evidence
  2482        Intentionally Omitted
              2017-09-12 Hazens Presentation               Chan
  2483                                                                    No objection
              Casino_2000958                                Jeremy
                                                                     Cat. 11 – Transcript is
              2017-09-14 Cigar Lounge Brochure
  2484                                                       Chan         not evidence
              Casino_1998429
                                                                     (Description incorrect)
                                                                     Cat. 11 – Transcript is
              2017-09-17 Tribeca pitch to Roadking
  2485                                                       Chan         not evidence
              Casino_0053054
                                                                     (Description incorrect)
              2017-09-20 Text Chan, Chiang re Chiang ask
                                                                     Cat. 9 – Overinclusive
  2486        about Greenland Construction Cost              Chan
                                                                        Text Messages
              Casino_0202394
              2017-09-24 Text Chan, Chiang re San                    Cat. 9 – Overinclusive
  2487                                                       Chan
              Gabriel Site Casino_0202394                               Text Messages
              2017-10-03 Email Chan re Real Estate Deals
  2488                                                       Chan         No objection
              Casino_0028844

                                                                                                                           16
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 17 of 39 Page ID #:23151
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                    Description                  Witness     Gov. Objection         Def. Response   Other Source
              2017-10-10 Text Chan, Chiang re                        Cat. 9 – Overinclusive
  2489                                                      Chan
              Amendment Casino_0202394                                  Text Messages
              2017-10-14 Text Chan, Chiang re Retainer               Cat. 9 – Overinclusive
  2490                                                      Chan
              Casino_0202394                                            Text Messages
              2017-10-19 Text Chan, Gensler re Mason                 Cat. 9 – Overinclusive
  2491                                                      Chan
              meeting Casino_0202394                                    Text Messages
              2017-10-20 Text Chan, Chiang re                        Cat. 9 – Overinclusive
  2492                                                      Chan
              Bakersfield Land Casino_0202394                           Text Messages
              2017-10-26 Text Chiang, Chan re                        Cat. 9 – Overinclusive
  2493                                                      Chan
              Polytechnic Deadline Casino_0202394                       Text Messages
              2017-10-30 Text Chiang re 200 and 400                  Cat. 9 – Overinclusive
  2494                                                      Chan
              acres farmland Casino_0202394                             Text Messages
              2017-11-16 Text Chan, Synergy Team re                  Cat. 9 – Overinclusive
  2495                                                      Chan
              Kangqiao Meeting Casino_0202394                           Text Messages
              2017-12-04 Text Chan, Chiang re Suggested
                                                                     Cat. 9 – Overinclusive
  2496        Discussion Topics with Yuan                   Chan
                                                                        Text Messages
              Casino_0202394
              2017-12-20 Email Chan re Preliminary Steel
  2497                                                      Chan         No objection
              Size Casino_0028923-24
              2017-12-31 Email Chan re Solar proposal
  2498                                                      Chan         No objection
              and white paper Casino_0029020-21
              Synergy CCC 2018 Projected Budget
  2499                                                      Chan         No objection
              Casino_0801680
  2500        2019-January Chiang's Letter                  Chan         No objection                             GC
              2018-10 to 2019-01 - CCC Wells Fargo
  2501        Statement Acc 6661 from Oct 2018 to Jan       Chan         No objection
              2019 Casino_0690447
              2018-10 to 2019-01 - CCC Wells Fargo
  2502        Statements Acc 6786 from Oct 2018 to Jan      Chan         No objection
              2019 Casino_0690517
              2018-10 to 2019-01 - CCC Wells Fargo
  2503        Statements Acc 6679 from Oct 2018 to Jan      Chan         No objection
              2019 Casino_0690533

                                                                                                                         17
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 18 of 39 Page ID #:23152
                                              UNITED STATES v. RAYMOND CHAN
                                                     CR 20-236(a)-JFW-2

                                                  DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                    Witness      Gov. Objection         Def. Response   Other Source
              2015-01-29 Email Chiang, Jeremy re 1200       Jeremy
  2504                                                                    No objection               ?
              Fig                                            Chan
              2015-05-27 Text Chiang, Jeremy re research    Jeremy    Cat. 9 – Overinclusive
  2505
              for TFAR public benefits Casino_0202394        Chan        Text Messages
              2015-10-11 Email Chiang, Jeremy re GPA        Jeremy         No objection
  2506
              versus TFAR Casino_0027955&57                  Chan     (Description incorrect)
                                                            Jeremy
  2507        Intentionally Omitted
                                                             Chan
  2508        Intentionally Omitted
              2015-12-03 Email Chan, Chiang, Jeremy re      Jeremy
  2509                                                                    No objection
              462 W. 9th                                     Chan
                                                                       Cat. 6 – Paramount;
              2015-12-23 Text Chiang, Jeremy re             Jeremy
  2510                                                                Cat. 9 – Overinclusive
              Paramount                                      Chan
                                                                         Text Messages
              2015-12-27 Email re Paramount Questions       Jeremy
  2511                                                                 Cat. 6 - Paramount
              Casino_0028084-87                              Chan
                                                            Jeremy
  2512        Intentionally Omitted
                                                             Chan
              2016-01-13 Chiang Extraction Report p.        Jeremy    Cat. 9 – Overinclusive
  2513
              8094 Casino_0202394                            Chan        Text Messages
              2016-01-14 - Paramount Memo for Golden        Jeremy
  2514                                                                 Cat. 6 - Paramount
              Mountain Casino_0028100-02                     Chan
              2016-09-19 Text Jeremy, Chiang Extraction
                                                            Jeremy    Cat. 9 – Overinclusive
  2515        Report p. 8466 re GPA versus TFAR
                                                             Chan        Text Messages
              Casino_0202394
              2016-09-21 Text Jeremy, Chiang Chiang
                                                            Jeremy    Cat. 9 – Overinclusive
  2516        Extraction Report p.8473 re a 4th and Hill
                                                             Chan        Text Messages
              Site Casino_0202394
              2016-11-11 Text Jeremy, Chiang Chiang
                                                            Jeremy    Cat. 9 – Overinclusive
  2517        Extraction Report p. 8585 re representation
                                                             Chan        Text Messages
              capacity Casino_0202394
              2016-12-02 Email Jeremy, George re            Jeremy
  2518                                                                    No objection
              Windsor Square Preservation Plan               Chan

                                                                                                                           18
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 19 of 39 Page ID #:23153
                                               UNITED STATES v. RAYMOND CHAN
                                                      CR 20-236(a)-JFW-2

                                                   DEFENDANT’S EXHIBIT LIST

Def. Ex. #                      Description                   Witness      Gov. Objection        Def. Response   Other Source
              2016-12-08 Text Jeremy, Chiang Chiang
                                                              Jeremy    Cat. 9 – Overinclusive
  2519        Extraction Report p. 8653 re 1135 7th and JJJ
                                                               Chan        Text Messages
              Casino_0202394
              2016-03-07 Revised Application College          Jeremy        No objection
  2520
              Application                                      Chan
  2521        Intentionally Omitted
  2522        Intentionally Omitted
              2016-12-23 Email Jeremy, Chiang re
                                                              Jeremy
  2523        Thornton Letter Casino_0028353 &                           Cat. 6 - Paramount
                                                               Chan
              0028372-74
              2016-12-31 Email Jeremy, Chiang re 7th          Jeremy        No objection
  2524
              Street project for ling                          Chan
              2017-03-14 Text Jeremy, Chiang Chiang
                                                              Jeremy    Cat. 9 – Overinclusive
  2525        Extraction Report p. 9006 re Malibu
                                                               Chan        Text Messages
              documents Casino_0202394
              2017-03-15 Text Jeremy, Chiang Chiang           Jeremy    Cat. 9 – Overinclusive
  2526
              Extraction Report p. 9013 Casino_0202394         Chan        Text Messages
              2017-06-16 p. 9400 - Luxe research council      Jeremy    Cat. 9 – Overinclusive
  2527
              file Casino_0202394                              Chan        Text Messages
              2017-08-01 Jeremy's Help for CPC                Jeremy
  2528                                                                      No objection
              presentation Casino_0028695-96                   Chan
              2017-08-13 Email Chiang, Chan, Jeremy re        Jeremy        No objection
  2529
              Valley Blvd Property                             Chan
              2015-12-15 to 2017-02-09 - Texts Keller,
                                                                        Cat. 9 – Overinclusive
  2530        Chiang Chiang Extraction Report                  Chan
                                                                           Text Messages
              Casino_0202394 - multiple pages
              2015-09-22 to 2017-12-13 - Texts Keller,
                                                                        Cat. 9 – Overinclusive
  2531        Chiang Chiang Extraction Report p. 15905-        Chan
                                                                           Text Messages
              15919 Casino_0202394
              2015-09-28 Email Hazens Consultants,
  2532        Chiang, Keller Meeting with Deputy Mayor         Chan         No objection
              Bernard Casino_0367587


                                                                                                                            19
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 20 of 39 Page ID #:23154
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                  DEFENDANT’S EXHIBIT LIST

Def. Ex. #                    Description                   Witness        Gov. Objection        Def. Response   Other Source
              2016-06-02 Email Chun, Keller re Meeting
  2533                                                        Chan          No objection
              Casino_0872300
              2017-03-13 Chiang Extraction Report p.9003                Cat. 9 – Overinclusive
  2534                                                        Chan
              to 9005 re Hani Casino_0202394                               Text Messages
  2535        Intentionally Omitted
                                                            Chan
              City Document - LAFD Plan Check Expedite
  2536                                                      Hernandez       No objection                         Online Article
              Request Form
                                                             Galstian
                                                              Chan,
              2017-05-24 DCP Hearing Date on DCP
                                                             Chiang,
  2538        Recommendation Report Casino_0028719                          No objection
                                                              Kuk,
              (For p.11-115, please see digital copy)
                                                              Keller
              2017-08-18 DCP Recommendation Report
                                                                            No objection
  2539        for 9-14 CPC Hearing Casino_0028719 (For        Chan
              p.11-115, please see digital copy)
  2540        Intentionally Omitted
  2541        2017-11-09 CPC Minutes (2nd Hearing)            Chan         No objection
  2542        Timeline 0 - Count 28 and Counts 12 & 13        Chan       Cat. 1 -Indictment
              Timeline 1 - Chiang and Chan's                             Cat. 3 - Improper
  2543                                                        Chan
              Relationships                                               Summary Chart
                                                                         Cat. 3 - Improper
              Timeline 2 - Before Retirement - Chan
  2544                                                        Chan        Summary Chart;
              Helped Chiang
                                                                         Cat. 6 - Paramount
                                                                          Cat. 3 - Improper
              Timeline 3 - Before Retirement - Money
  2545                                                        Chan        Summary Chart;
              Matters and Gift Exchanges
                                                                         Cat. 6 - Paramount
              Timeline 4 - After Retirement - Chan's Work                Cat. 3 - Improper
  2546                                                        Chan
              and Income in 2017 and 2018                                 Summary Chart
                                                                         Cat. 1 -Indictment;
              Timeline 5 - Play 1 Chan Did Not Pressure
  2547                                                        Chan       Cat. 3 - Improper
              Kevin Keller
                                                                          Summary Chart
              Timeline 6 - Play 2 Chan Did Not Pressure
  2548                                                        Chan       Cat. 1 – Indictment;
              FD Malki and DOT Janoyan

                                                                                                                             20
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 21 of 39 Page ID #:23155
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                   DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                  Witness      Gov. Objection        Def. Response   Other Source
                                                                       Cat. 3 - Improper
                                                                        Summary Chart
                                                                      Cat. 1 – Indictment;
              Timeline 7 - Play 3 Chan Did Not Pressure
  2549                                                     Chan        Cat. 3 - Improper
              Ambroz
                                                                        Summary Chart
                                                                      Cat. 1 – Indictment;
              Timeline 8 - Pay 1 Chan Did Not Accepted
  2550                                                     Chan        Cat. 3 - Improper
              $20,000 from Chiang
                                                                        Summary Chart
                                                                      Cat. 1 – Indictment;
              Timeline 9 - Pay 2 Why Chiang Gave
  2551                                                     Chan        Cat. 3 - Improper
              $69,939 to Chan
                                                                        Summary Chart
                                                                      Cat. 1 – Indictment;
              Timeline 10 - Pay 3 Why Chiang gave
  2552                                                     Chan        Cat. 3 - Improper
              $15,000 to Jeremy
                                                                        Summary Chart
                                                                      Cat. 1 – Indictment;
              Timeline 11 - Why Chan helped Chiang and
  2553                                                     Chan        Cat. 3 - Improper
              Lee on Luxe in Early 2017
                                                                        Summary Chart
2554-2600     Placeholder
                                                           6 – RICO
              2017-08-15 Fundraise Jeff Prang
  2601                                                     Chan          No objection
              Casino_0028716
              2017-11-02 Fundraise Wessons for Maria
  2602                                                     Chan          No objection
              Elena Casino_0028862
              2017-11-21 Donate Jimmy Gomez
  2603                                                     Chan          No objection
              Casino_0028891
              2017-12-18 Fundraise John Chiang
  2604                                                     Chan          No objection
              Casino_0028919, 0028921, 0029002
              2018-02-08 Fundraise Englander
  2605                                                     Chan          No objection
              Casino_0029342, 0029344
              2018-03-14 Donate Arizmendi
  2606                                                     Chan          No objection
              Casino_0030889
              2018-03-14 Donate Ben Pak
  2607                                                     Chan          No objection
              Casino_0030888

                                                                                                                        21
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 22 of 39 Page ID #:23156
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                  Witness        Gov. Objection         Def. Response   Other Source
              2018-05-11 Donate Phil Ting (Pak)
  2609                                                     Chan           No objection
              Casino_0040549
              2018-05-22 Fundraise Bonin
  2610                                                     Chan           No objection
              Casino_0035976-77, 0039310
              2018-06-03 Donate John Chiang
  2611                                                     Chan           No objection
              Casino_0017117
              2018-06-04 Judy Chu Donation for Mike
  2612                                                     Chan           No objection
              Eng Casino_0041323-25
              2018-07-04 Donate Jeff Prang
  2613                                                     Chan           No objection
              Casino_0014552-53
              2018-07-31 Fundraise Koretz
  2614                                                     Chan           No objection
              Casino_0014886-87
              2018-08-08 Donate for Afriat                                No objection
  2615                                                     Chan
              Casino_0021343-44, 0021346-47, 0024827                  (Description incorrect)
              2018-09-28 Call Chan, Keller
  2616                                                     Chan           No objection
              Casino_1999419, 21-22
                                                                       Cat. 1 – Indictment;
  2617        Table for RICO - 5 means to Benefit CD 14    Chan         Cat. 3 - Improper
                                                                         Summary Chart
2618– 2649    Placeholder
                                                      7 – DERON WILLIAMS
              2017-08-08 Text Chan, Chiang Chiang
  2650        Extraction p. 14244 re Talk about Deron        Chan   Cat. 2 – Def.’s Hearsay
              Jr.Casino_0202394
  2651        Intentionally Omitted
              2017-08-21 Text Chiang, Chan re CCC
  2652                                                       Chan        No objection
              Consulting Agreement Casino_0088025
  2653        Intentionally Omitted
              2017-08-30 Email Chan, Staff, Williams Jr
                                                           Chan
  2654        re Consulting Agreement Signed by Chiang                   No objection
                                                            Mkhlian
              and Deron Jr. Casino_0088356



                                                                                                                           22
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 23 of 39 Page ID #:23157
                                              UNITED STATES v. RAYMOND CHAN
                                                     CR 20-236(a)-JFW-2

                                                   DEFENDANT’S EXHIBIT LIST

Def. Ex. #                     Description                   Witness       Gov. Objection         Def. Response   Other Source
              2017-09-04 Call Chiang, Chan re Chiang
                                                             Chan       Cat. 11 - Transcript is
  2655        saying Stephanie will tell Deron Jr. what to
                                                              Mkhlian       not evidence
              do Casino_1998297
  2656        Intentionally Omitted
              2017-09-14 to 2017-09-21 Emails Mkhlian,       Chan
  2657                                                                      No objection
              Williams Jr. Casino#0743686                     Mkhlian
  2658        Intentionally Omitted
  2659        Intentionally Omitted
  2660        Intentionally Omitted
  2661        Intentionally Omitted
              2017-09-04 Call Chan, Chiang re Talking                   Cat. 11 - Transcript is
  2662                                                         Chan
              Points that Chiang will prepare                                not evidence
              2017-09-11 Call Chan, Chiang re Chiang                    Cat. 11 - Transcript is
  2663                                                         Chan
              saying he talked to Deron Casino_0052896                       not evidence
              2017-09-11 Text Chiang, Deron re Chiang                   Cat. 9 – Overinclusive
  2664                                                         Chan
              asking about talking points Casino_0052903                   Text Messages
              2017-09-12 Call Chan, Williams re Chiang                  Cat. 11 - Transcript is
  2665                                                         Chan
              Hassling Williams                                              not evidence
              2017-09-12 Call Chan, Williams (For                       No objection if for ID
  2666                                                         Chan
              Identification Only)                                               only
              2017-09-12 Call Chiang, Deron re Chiang
                                                                        Cat. 11 - Transcript is
  2667        thanks Deron for calling Ana                     Chan
                                                                            not evidence
              Casino_0052925
              2017-09-12 Call Chiang, Deron re Meeting                  Cat. 11 - Transcript is
  2668                                                         Chan
              with a Councilmember Casino_0052927                            not evidence
              2017-09-12 Call Text Chiang, Deron re                     Cat. 9 – Overinclusive
  2669                                                         Chan
              Chiang Asking for a Call Casino_0052924                      Text Messages
              2017-09-12 Call Text Chiang, Deron re
                                                                        Cat. 9 – Overinclusive
  2670        Thanking Deron for Talking to Anna               Chan
                                                                           Text Messages
              Casino_0052922
              Comparison between 2020-3-3 and 3-24                       Cat. 1 – Indictment;
  2671        Chiang's 302 Casino#0370730, 0370638,            Chan       Cat. 3 - Improper
              0370730, 0202394                                             Summary Chart

                                                                                                                             23
              Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 24 of 39 Page ID #:23158
                                              UNITED STATES v. RAYMOND CHAN
                                                     CR 20-236(a)-JFW-2

                                                  DEFENDANT’S EXHIBIT LIST

Def. Ex. #                     Description                    Witness      Gov. Objection          Def. Response   Other Source
               Exhibit for Table Deron's Request to Chiang                Cat. 1 – Indictment;
   2672        - Chiang Extract 0202394 p.16415, 416, 422,     Chan        Cat. 3 - Improper
               430, 433, & 435                                              Summary Chart
                                                                          Cat. 1 – Indictment;
   2673        Timeline - Deron Williams and Junior            Chan        Cat. 3 - Improper
                                                                            Summary Chart
2674 - 2699    Placeholder
                                                         8 – AVE JACINTO
                                                                      Cat. 9 – Overinclusive
               2017-09-20 Call Wang, Chan re Ave            Chan
   2700                                                                  Text Messages
               Meeting Casino_1998579, 81, 85-89
                                                                      (Description incorrect)
               2017-09-26 Text Wang, Civetti re Hire Ave               Cat. 10 – Improper
   2701                                                        Chan
               Casino_0343293                                              Entrapment
                                                            Chan
               2017-10-01 Ave's BIA Event Proposal          Ave
   2702                                                                    No objection
               Casino_0342424-25                            Jacinto

                                                             Chan
               2017-10-02 Ave's Resume Casino_0342171-
   2703                                                        Ave           No objection
               72
                                                              Jacinto
                                                                        Cat. 2 – Def.’s Hearsay;
               2017-10-05 Recording Chan, Wang re Ave
   2704                                                        Chan         403 (52-minute
               Meeting
                                                                               recording)
               2017-10-05 Transcript Chan, Wang Meeting
   2705                                                        Chan     Cat. 2 – Def.’s Hearsay
               Ave.pdf
               2017-10-05 Transcript Chan, Wang Mid-
   2706                                                        Chan     Cat. 2 – Def.’s Hearsay
               Meeting.pdf
               2017-10-05 Transcript Chan, Wang Post-
   2707                                                        Chan     Cat. 2 – Def.’s Hearsay
               Meeting.pdf
                                                             Chan
               2017-10-17 Ave's Draft BIA Event Run of
   2708                                                        Ave           No objection
               Day and Checklist Casino_342430.pdf
                                                              Jacinto


                                                                                                                              24
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 25 of 39 Page ID #:23159
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                  DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                  Witness       Gov. Objection         Def. Response   Other Source
                                                         Chan
              2017-11-09 BIA Event Guest List
  2709                                                       Ave          No objection
              Casino_0342475.pdf
                                                           Jacinto
              2017-11-30 Recording Chan, Wang (For          Chan,    No objection if for ID
  2710
              Identification)                               Wang             only
  2711        2017-11-30 Transcript Chan, Wang re           Chan,
                                                                     Cat. 2 – Def.’s Hearsay
              Chan’s reason to recommend Ave                Wang
  2712                                                   Chan
              Ave's 2018 Meetings Casino#0035457,        Ave
                                                                          No objection
              0033474, 0035924, 0033472 etc….            Jacinto
                                                          Mkhlian
  2713                                                   Chan
                                                             Ave
              Ave's 2018 Work                                             No objection
                                                           Jacinto
                                                          Mkhlian
  2714                                                   Chan
              2018-03-14 Ave's Contract (Commission
                                                             Ave          No objection
              Based Only) Casino_0030885
                                                           Jacinto
  2715                                                   Chan
              2018-04-17 Call Chan, Ave re her current               Cat. 11 - Transcript is
                                                             Ave
              hourly rate Casino_1998870                                 not evidence
                                                           Jacinto
  2716                                                   Chan
              2018-04-25 Ave's Scope of Work and Fees
                                                             Ave          No objection
              Casino_0033489
                                                           Jacinto
  2717                                                   Chan
              2018-04-25 Email Chan, Ave
                                                             Ave          No objection
              Casino_0033488
                                                           Jacinto
              2018-05-09 Recording 1 Chan, Wang             Chan     No objection if for ID
  2718
              (Identification Only)                                           only
              2018-05-09 Recording 2 Chan,                 Chan      No objection if for ID
  2719
              Wang(Identification Only)                                       only
                                                           Chan      Cat. 11 - Transcript is
  2720        2018-05-09 Transcript Chan, Wang
                                                                         not evidence

                                                                                                                          25
              Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 26 of 39 Page ID #:23160
                                              UNITED STATES v. RAYMOND CHAN
                                                     CR 20-236(a)-JFW-2

                                                  DEFENDANT’S EXHIBIT LIST

Def. Ex. #                    Description                    Witness      Gov. Objection          Def. Response   Other Source
               2018-06-01 Text Wang, Civetti re Wang          Chan       Cat. 10 – Improper
   2721
               worried Ave may quit Casino_0344555-56                       Entrapment
   2722                                                     Chan
               2018-06-06 Email Wang, Ave, Wang Staff
                                                              Ave           No objection
               Casino_0013244
                                                             Jacinto
   2723                                                     Chan
               2018-06-07 Recording 1 Chan,                             No objection if for ID
                                                              Ave
               Wang(Identification Only)                                        only
                                                             Jacinto
   2724                                                     Chan
               2018-06-07 Recording 2 Chan,                             No objection if for ID
                                                              Ave
               Wang(Identification Only)                                        only
                                                             Jacinto
   2725                                                     Chan
               2018-06-07 Transcript re Wang proposing to               Cat. 11 - Transcript is
                                                              Ave
               pay Ave a fixed salary Chan, Wang                            not evidence
                                                             Jacinto
2726 – 2739    Placeholder
               2016-05-10 Email Joel, Chiang re             Chan
   2740                                                                     No objection
               Oceanwide Casino_0119457-58                   Galstian
               2016-05-10 Email Joel, Chiang re             Chan
   2741                                                                     No objection
               Oceanwide Casino_0167238                      Galstian
               2016-05-12 Email Joel, Chiang re             Chan
   2742                                                                     No objection
               Oceanwide Casino_0119457-58                   Galstian
               2016-05-12 Email Joel, Chiang re             Chan
   2743                                                                     No objection
               Oceanwide Casino_0145015-17                   Galstian
               2016-08-09 Email Joel, Chiang re Hazens      Chan
   2744                                                                     No objection
               Luxe Hotel Casino_0147524                     Galstian
               2016-08-17 Email Joel, Chiang re Hazens      Chan
   2745                                                                     No objection
               Luxe Hotel Casino_0120864-66                  Galstian
               2016-08-17 Email Joel, Chiang re             Chan
   2746                                                                     No objection
               Oceanwide Casino_0147524                      Galstian
   2747        Intentionally Omitted
               2016-09-07 Email Joel, Chiang re             Chan
   2748                                                                     No objection
               Oceanwide Casino_0118571-75                   Galstian


                                                                                                                             26
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 27 of 39 Page ID #:23161
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                    Description                   Witness        Gov. Objection         Def. Response   Other Source
              2017-01-11 Email Joel, Chiang re             Chan
  2749                                                                      No objection
              Oceanwide Casino_0120524                      Galstian
              2017-01-13 Email Joel, Chiang re             Chan
  2750                                                                      No objection
              Oceanwide Casino_0145288-95                   Galstian
  2751        Intentionally Omitted
              2017-01-14 Email Joel, Chiang re             Chan
  2752                                                                      No objection
              Oceanwide Casino_0119582-55                   Galstian
              2017-04-06 Email Joel, Chiang re Hazens      Chan
  2753                                                                      No objection
              Luxe Hotel Casino_0084542-44                  Galstian
              2017-07 to 2017-08 Email Joel, Chiang re     Chan
  2754                                                                      No objection
              Oceanwide Casino_0083854-62                   Galstian
              2017-08-03 Email Joel, Chiang re             Chan
  2755                                                                      No objection
              Oceanwide Casino_0083503-06                   Galstian
              2017-08-03 Email Joel, Chiang re             Chan
  2756                                                                      No objection
              Oceanwide Casino_0083851-53                   Galstian
              2017-08-30 Call Chiang & Jacinto re Hazens   Chan         Cat. 11 - Transcript is
  2757
              Luxe Hotel Casino_0052769                     Galstian        not evidence
              2018-04-03 Call Joel, Chiang re Hazens       Chan         Cat. 11 - Transcript is
  2758
              Luxe Hotel Casino_0053120                     Galstian        not evidence
  2759        Placeholder
              2018-04-05 Email Chiang, Synergy Team re     Chan
              Hazens Luxe Hotel Casino_0033051,            Hernandez
  2760                                                                      No objection
              0032737, 0033148, 0033170, 0033172,          Galstian
              0033335, 0033336, 0033341, 0033342            Janoyan
                                                              Chan,
                                                             Chiang,
                                                              Verej
              2018-04-05 Email Chiang, Synergy Team re      Janoyan,
  2761                                                                      No objection
              Hazens Luxe Hotel Casino_0033148                Larry
                                                            Galstian,
                                                               Al
                                                           Hernandez


                                                                                                                             27
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 28 of 39 Page ID #:23162
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                   Witness       Gov. Objection         Def. Response   Other Source
                                                          Chan
              2018-04-06 Email Chiang, Verej re Hazens    Hernandez
  2762                                                                    No objection
              Luxe Hotel Casino_0033341-42                Galstian
                                                           Janoyan
                                                          Chan
              2018-04-09 All Hands Meeting re Hazens      Hernandez   Cat. 11 - Transcript is
  2763
              Luxe Hotel Casino_0053171                   Galstian        not evidence
                                                           Janoyan
                                                          Chan
              2018-04-16 Email Joel, Chiang re Hazens     Hernandez
  2764                                                                    No objection
              Luxe Hotel Casino_0121116-17                Galstian
                                                           Janoyan
                                                          Chan
              2018-04-17 Email Joel, Chiang re Hazens     Hernandez
  2765                                                                    No objection
              Luxe Hotel Casino_0035466-67                Galstian
                                                           Janoyan
  2766        Placeholder
                                                          Chan
              2018-04-24 Email BOE, Joel, Chiang re       Hernandez
  2767                                                                    No objection
              Hazens Luxe Hotel Casino_0036389-94         Galstian
                                                           Janoyan
                                                          Chan
              2018-04-24 Call Chiang, Jacinto re Hazens   Hernandez   Cat. 11 - Transcript is
  2768
              Luxe Hotel Casino_0053285-86                Galstian        not evidence
                                                           Janoyan
                                                          Chan
              2018-04-24 Text Chiang, Joel re Hazens      Hernandez
  2769                                                                    No objection
              Luxe Hotel Casino_2085050                   Galstian
                                                           Janoyan
                                                          Chan
              2018-04-25 Email Joel, Chiang re Hazens     Hernandez      No objection;
  2770
              Luxe Hotel Casino_0041127                   Galstian    Duplicate of Ex. 2772
                                                           Janoyan

                                                                                                                           28
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 29 of 39 Page ID #:23163
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                    Description                  Witness       Gov. Objection         Def. Response   Other Source
                                                          Chan
              2018-04-25 Call Chiang, Joel re Hazens      Hernandez   Cat. 11 - Transcript is
  2771
              Luxe Hotel Casino_0053297                   Galstian        not evidence
                                                           Janoyan
                                                          Chan
              2018-04-25 Email Chiang, Synergy Team re    Hernandez      No objection;
  2772
              Hazens Luxe Hotel Casino_0116752-53         Galstian    Duplicate of Ex. 2770
                                                           Janoyan
                                                          Chan
              2018-04-26 Email Chiang, BOE Staff, Joel    Hernandez
  2773                                                                    No objection
              re Hazens Luxe Hotel Casino_0083970-71      Galstian
                                                           Janoyan
                                                          Chan
              2018-04-27 Email Joel, Chiang, BOE Staff    Hernandez
  2774                                                                    No objection
              re Hazens Luxe Hotel Casino_0166237-39      Galstian
                                                           Janoyan
                                                          Chan
              2018-05-01 Call Jacinto, Chiang re Hazens   Hernandez   Cat. 11 - Transcript is
  2775
              Luxe Hotel Casino_0053369-73                Galstian        not evidence
                                                           Janoyan
  2776        Intentionally Omitted
                                                          Chan
              2018-05-02 Email Joel, BOE Staff, Chiang    Hernandez
  2777                                                                    No objection
              re Hazens Luxe Hotel Casino_0097231-39      Galstian
                                                           Janoyan
                                                          Chan
              2018-05-02 Email Joel, Chiang re Hazens     Hernandez
  2778                                                                    No objection
              Luxe Hotel Casino_0101926-27                Galstian
                                                           Janoyan
              2016-07-21 Major Development Services
                                                          Chan
  2779        Meeting with Development Depts for Luxe                     No objection
                                                           Janoyan
              Casino_0381604


                                                                                                                           29
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 30 of 39 Page ID #:23164
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                  DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                     Witness       Gov. Objection          Def. Response   Other Source
                                                                              Relevance;
              2017-04-26 Report to Industry Agenda
  2780                                                         Chan               403;
              Casino_0084591
                                                                                Hearsay
                                                                              Relevance;
              2017-04-26 Report to Industry Video - Gary
  2781                                                         Chan               403;
              Lee Moore Presentation - Public Works.mov
                                                                                Hearsay
                                                                              Relevance;
              Joel Jacinto's Provided Documents
  2782                                                         Chan        403 (Description
              Casino_2006592
                                                                               incorrect)
                                                                          Cat. 1 – Indictment;
  2783        Ave Jacinto Timeline                             Chan        Cat. 3 - Improper
                                                                            Summary Chart
2784 -2899    Placeholder
                                                           9 – SHAWN KUK
              2018-11-07 Kuk FBI Interview                             No objection if for ID
  2900                                                          Chan
              Casino_0172528 (Identification Only)                             only
              2018-11-07 Kuk FBI Interview                             No objection if for ID
  2901                                                          Chan
              Casino_0172529 (Identification Only)                             only
              2018-11-07 Kuk FBI Interview                             No objection if for ID
  2902                                                          Chan
              Casino_0172530 (Identification Only)                             only
                                                                             Hearsay;
  2903        2018-110-7 Kuk FBI Interview                      Chan
                                                                          Authentication
                                                                        Cat. 3 - Improper
                                                                         Summary Chart;
  2904        Kuk - Timeline 1 Kuk Leave CD14.pdf               Chan
                                                                      Duplicate of Exs. 2913,
                                                                               2966
              2018-04-25 Call Chiang, Kuk re Invite Kuk
                                                                         Cat. 11 - Transcript is
  2905        to Martial Arts Session at Chan’s House          Chan
                                                                             not evidence
              Casino_0053304
              2018-06-11 Kuk's Resume Casino_0046788-
  2906                                                         Chan          No objection
              89
  2907        Intentionally Omitted
  2908        Intentionally Omitted

                                                                                                                              30
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 31 of 39 Page ID #:23165
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                    Description                 Witness      Gov. Objection          Def. Response   Other Source
              2018-08-08 Call Chan & Chiang re Chiang                Cat. 11 - Transcript is
  2909                                                     Chan
              Say “Take Care of Sean” Casino_1997945                     not evidence
              2018-08-27 Call Chan & Chiang re Take                  Cat. 11 - Transcript is
  2910                                                     Chan
              Care of Casino_0053630, 0053637-38                         not evidence
  2911        Intentionally Omitted
                                                                     Cat. 11 - Transcript is
              2018-09-17 Call Chiang, Kuk re Non-profit
  2912                                                     Chan     not evidence (24-minute
              Job Application Casino_0053804-05
                                                                           recording)
                                                                        Cat. 3 - Improper
              Kuk - Timeline 2 Wang FBI Start                           Summary Chart;
  2913                                                     Chan
              Entrapment.pdf                                        Duplicate of Exs. 2904,
                                                                              2966
  2914        2018-06-14 Transcript Chan, Wang 840A-Z      Chan     Cat. 2 – Def.’s Hearsay
                                                                    Cat. 12 - Govt. Exhibit
  2915        2018-06-14 Transcript Chan, Wang 840B-T      Chan
                                                                         (Ex. 840B-T)
              2018-06-14 Recording 1 Chan,                           No objection if for ID
  2916                                                     Chan
              Wang(Identification Only)                                       only
              2018-06-14 Recording 2 Chan,                           No objection if for ID
  2917                                                     Chan
              Wang(Identification Only)                                       only
              2018-06-15 Showroom Meeting w Kuk,
                                                                     No objection if for ID
  2918        Bastian - Govt.wav Casino_0172016            Chan
                                                                             only
              (Identification Only)
              2018-06-15 Showroom Meeting w Kuk,
                                                                     No objection if for ID
  2919        Bastian - Govt.wav Casino_0172017            Chan
                                                                             only
              (Identification Only)
  2920        Intentionally Omitted
  2921        Intentionally Omitted
                                                                     Cat. 11 - Transcript is
  2922        2018-06-15 Transcript Chan, Wang             Chan
                                                                         not evidence
              2018-06-21 Recording Chan, Wang                        No objection if for ID
  2923                                                     Chan
              (Identification Only)                                           only
              2018-06-23 Email Wang, Bastian re Bastian               Cat. 10 – Improper
  2924                                                     Chan
              Consultant Agreement Casino_0344598                         Entrapment

                                                                                                                          31
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 32 of 39 Page ID #:23166
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                  DEFENDANT’S EXHIBIT LIST

Def. Ex. #                     Description                  Witness      Gov. Objection         Def. Response   Other Source
              2018-06-23 Email Wang, Bastian re Bastian                 Cat. 10 – Improper
  2925                                                       Chan
              Consultant Agreement Casino_0344599                          Entrapment
              2018-06-23 Text Andy, Civetti re Chan                     Cat. 10 – Improper
  2926                                                       Chan
              email Wang Casino_0344597                                    Entrapment
              2018-06-27 Text Wang, Civetti re Bastian                  Cat. 10 – Improper
  2927                                                       Chan
              Casino_0344601-02                                            Entrapment
              2018-06-28 Text Wang, Civetti re Meeting                  Cat. 10 – Improper
  2928                                                       Chan
              Change Casino_0344606-08                                     Entrapment
              2018-07-05 FBI Affidavit Casino_0342906-                  Cat. 10 – Improper
  2929                                                       Chan
              10                                                           Entrapment
              2018-July to August Texts Civetti, Wang
                                                                        Cat. 10 – Improper
  2930        Casino_0344622, 0344641-43, 0344650-56,        Chan
                                                                           Entrapment
              58, 60, 64-66
              2018-08-17 Text Chan, Wang re Wang Ask
  2931                                                       Chan          No objection
              About Kuk Casino_0345000
              2018-08-23 Recording 1 Chan, Wang                        No objection if for ID
  2932                                                       Chan
              (Identification Only)                                            only
  2933        2018-08-23 Recording 2 Chan, Wang              Chan     Cat. 2 – Def.’s Hearsay
  2934        2018-08-23 Transcript Chan, Wang 842-Z         Chan     Cat. 2 – Def.’s Hearsay
              2018-08-25 Text Chan, Wang re Chan Reply
  2935                                                       Chan          No objection
              to Meet Kuk in September Casino_0345000
              2018-08-27 Text Wang, Civetti re Meet-up                  Cat. 10 – Improper
  2936                                                       Chan
              before Chan meeting Casino_0344671                           Entrapment
              2018-09-04 Civetti Instructions for Wang to               Cat. 10 – Improper
  2937                                                       Chan
              text Chan Casino_0344686                                     Entrapment
              2018-09-04 Text Wang, Chan re Wang
  2938        follow-up with Chan about Shawn                Chan          No objection
              Casino_0345002
              2018-09-04 Texts Andy & Chan re ALS
  2939                                                       Chan          No objection
              Sponsorship check Casino_0345005
              2018-09-04 Text Wang, Civetti re Wang
                                                                        Cat. 10 – Improper
  2940        confirmed follow Agent instruction             Chan
                                                                           Entrapment
              Casino_0344687

                                                                                                                           32
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 33 of 39 Page ID #:23167
                                            UNITED STATES v. RAYMOND CHAN
                                                   CR 20-236(a)-JFW-2

                                                DEFENDANT’S EXHIBIT LIST

Def. Ex. #                     Description               Witness     Gov. Objection          Def. Response   Other Source
              2018-09-05 Civetti Instructions for Wang    Chan      Cat. 10 – Improper
  2941
              Casino_0344689                                           Entrapment
              2018-09-05 Text Wang, Chan                  Chan      Cat. 10 – Improper
  2942
              Casino_0344690                                           Entrapment
              2018-09-05 Text Wang, Civetti               Chan      Cat. 10 – Improper
  2943
              Casino_0344688                                           Entrapment
              2018-09-06 Recording 1 Chan, Wang 843-Z     Chan     No objection if for ID
  2944
              (Identification Only)                                        only
              2018-09-06 Recording 2 Chan, Wang 843-Z     Chan     No objection if for ID
  2945
              (Identification Only)                                        only
  2946        Intentionally Omitted
                                                          Chan       Cat. 8 – Missing
              2018-09-07 Call Chan, Wang re meeting
                                                                        translation;
  2947        with Shawn in October; Wang agrees
                                                                   Cat. 11 - Transcript is
              Casino_1999394
                                                                       not evidence
              2018-09-10 Text Wang, Chan re ALS Check     Chan      Cat. 10 – Improper
  2948
              Casino_0344691                                            Entrapment
              2018-09-13 Text Wang, Chan re Move up       Chan
  2949                                                                 No objection
              Meeting Casino_0345185-86
              2018-09-14 Text Wang, Chan per FBI          Chan      Cat. 10 – Improper
  2950
              Casino_0344695-96                                        Entrapment
              2018-09-19 Civetti Instructions for Wang    Chan      Cat. 10 – Improper
  2951
              Casino_0344701-02                                        Entrapment
              2018-09-19 Text Wang, Chan re Move up       Chan
  2952                                                                 No objection
              Meeting Casino_0345176
              2018-09-20 Text Messages Chan, Kuk re       Chan
  2953                                                                 No objection
              Dinner with Wang
              2018-09-21 Email for Kuk dinner             Chan      Cat. 10 – Improper
  2954
              Casino_0344708-09                                        Entrapment
              2018-09-23 Text Wang, Civetti re Wang       Chan      Cat. 10 – Improper
  2955
              complaint Casino_0344718                                 Entrapment
              2018-09-25 Text Wang, Civetti re Wang       Chan      Cat. 10 – Improper
  2956
              follow FBI Casino_0344724-25, 27-30, 32                  Entrapment

                                                                                                                        33
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 34 of 39 Page ID #:23168
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                     Description                 Witness      Gov. Objection         Def. Response   Other Source
              2018-09-28 Agent Report Casino_0343166-       Chan
  2957                                                                      Hearsay
              69
  2958        2018-09-28 Recording Call Chan, Wang          Chan     Cat. 2 – Def.’s Hearsay
              2018-09-28 Recording 1 Chan, Kuk, Wang        Chan      No objection if for ID
  2959
              (Identification Only)                                           only
              2018-09-28 Recording 2 Chan, Kuk, Wang        Chan      No objection if for ID
  2960
              (Identification Only)                                           only
              2018-09-28 Text Wang, Civetti re How to                  Cat. 10 – Improper
  2961                                                      Chan
              Give Check to Kuk Casino_0344734-40                          Entrapment
              2018-09-28 Recording Call Transcript Chan,
  2962                                                      Chan     Cat. 2 – Def.’s Hearsay
              Wang
              2018-09-28 Recording 1 Transcript Chan,
  2963                                                      Chan     Cat. 2 – Def.’s Hearsay
              Wang, Kuk 845C-T
              2018-09-28 Recording 1 Transcript Chan,
  2964                                                      Chan     Cat. 2 – Def.’s Hearsay
              Wang, Kuk 845D-T
  2965        Intentionally Omitted
                                                                       Cat. 3 – Improper
                                                                       Summary Chart;
  2966        Kuk - Timeline 3 Wang FBI Target Kuk.pdf      Chan
                                                                     Duplicate of Exs. 2904,
                                                                              2913
              2018-10-01 Text Civetti, Wang Instructions
                                                                       Cat. 10 – Improper
  2967        re Kuk coffee and start bonus                 Chan
                                                                          Entrapment
              Casino_0344741-50
              2018-10-03 Text Wang, Kuk re lunch instead
  2968                                                      Chan          No objection
              Casino_0345785, 88-89
  2969        Intentionally Omitted
  2970        2018-10-05 Agent Report Casino_0343615        Chan            Hearsay
              2018-10-05 Kuk Lunch Debrief                             Cat. 10 – Improper
  2971                                                      Chan
              Casino_0344751                                              Entrapment
              2018-10-05 Photographs of Blank Check and
  2972                                                      Chan          No objection
              Envelope of Cash re Kuk $10k
              2018-10-05 Lunch Andy & Kuk Recording
  2973                                                      Chan            Hearsay
              Casino_0172066

                                                                                                                          34
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 35 of 39 Page ID #:23169
                                           UNITED STATES v. RAYMOND CHAN
                                                  CR 20-236(a)-JFW-2

                                               DEFENDANT’S EXHIBIT LIST

Def. Ex. #                     Description              Witness     Gov. Objection         Def. Response   Other Source
              2018-10-05 Lunch with Andy & Kuk
  2974                                                   Chan           Hearsay
              Transcript A.docx
              2018-10-05 Lunch with Andy & Kuk
  2975                                                   Chan           Hearsay
              Transcript B.docx
              2018-10-05 Lunch with Andy & Kuk
  2976                                                   Chan           Hearsay
              Transcript C.docx
              2018-10-05 Lunch with Andy & Kuk
  2977                                                   Chan           Hearsay
              Transcript D.docx
              2018-10-05 Lunch with Andy & Kuk
  2978                                                   Chan           Hearsay
              Transcript E.docx
              2018-10-08 Recording Chan, Wang 846-Z               No objection if for ID
  2979                                                   Chan
              (Identification Only)                                       only
  2980        Intentionally Omitted
                                                         Chan      Cat. 3 – Improper
  2981        Kuk - Timeline 4 Wang FBI Fake MOU.pdf
                                                                    Summary Chart
  2982        Intentionally Omitted
              2018-10-08 Text Wang, Civetti re Dinner    Chan      Cat. 10 – Improper
  2983
              with Kuk Friend Casino_0344752                          Entrapment
  2984        Intentionally Omitted
  2985        Intentionally Omitted
  2986        Intentionally Omitted
              2018-10-25 Recording Wang, Kuk, Chan       Chan
  2987                                                                  Hearsay
              Casino_0172073
  2988        2018-10-25 Transcript Kuk, Wang, Chan      Chan           Hearsay
              2018-10-25 Recording 1 Chan, Shawn Kuk,    Chan
                                                                  No objection if for ID
  2989        and Wang_Casino_0172073 (Identification
                                                                          only
              Only)
              2018-10-25 Recording 2 Chan, Shawn Kuk,    Chan
                                                                  No objection if for ID
  2990        and Wang_Casino_0172073 (Identification
                                                                          only
              Only)




                                                                                                                      35
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 36 of 39 Page ID #:23170
                                            UNITED STATES v. RAYMOND CHAN
                                                   CR 20-236(a)-JFW-2

                                                DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                 Witness      Gov. Objection         Def. Response   Other Source
              2018-10-25 Recording 3 Chan, Shawn Kuk,     Chan
                                                                   No objection if for ID
  2991        and Wang_Casino_0172073 (Identification
                                                                           only
              Only)
  2992        2018-10-25 Agent Report Casino_0343247      Chan            Hearsay
              2018-10-25 Transcript Chan, Wang, Kuk,      Chan
  2993                                                                  No objection
              Taban 847B-T
              2018-10-25 Transcript Chan, Wang, Kuk       Chan
  2994                                                             Cat. 2 – Def.’s Hearsay
              847C-T
              2018-10-26 Call Chan, Ave re MOU will be    Chan     Cat. 11 – Transcript is
  2995
              signed with Andy Casino_1998011                           not evidence
              2018-10-26 Text and MOU1 Wang, Civetti      Chan      Cat. 10 – Improper
  2996
              re sent MOU Casino_0344797-98                             Entrapment
              2018-10-27 Text Wang, Chan 4:11PM Text      Chan
  2997                                                                  No objection
              re Start MOU Casino_0345765
              2018-10-27 Text Wang, Kuk 12:18PM Text      Chan
  2998                                                                  No objection
              to Kuk re MOU Casino_0345784
              2018-10-27 Text Wang, Civetti re Text to    Chan       Cat. 10 – Improper
  2999
              Kuk Casino_0344804                                        Entrapment
  3000        2018-10-28 MOU 2 Casino_0345309             Chan         No objection
              2018-10-27 Text Kuk, Wang 2:31 PM Text      Chan
  3001        from Kuk re Showroom and MOU                              No objection
              Casino_0345782
              2018-10-28 Text Wang, Civetti re MOU2       Chan      Cat. 10 – Improper
  3002
              Casino_0344809                                            Entrapment
                                                          Chan     Cat. 11 – Transcript is
  3003        2018-10-29 Call Chan, Kuk Casino_1999627
                                                                        not evidence
              Kuk - Timeline 5 Chan Technical             Chan      Cat. 3 – Improper
  3004
              Inquiries.pdf                                          Summary Chart
  3005        Intentionally Omitted                                     No objection
  3006        Intentionally Omitted                                     No objection
  3007        Intentionally Omitted                                     No objection
  3008        Intentionally Omitted                                     No objection


                                                                                                                        36
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 37 of 39 Page ID #:23171
                                               UNITED STATES v. RAYMOND CHAN
                                                      CR 20-236(a)-JFW-2

                                                   DEFENDANT’S EXHIBIT LIST

Def. Ex. #                    Description                 Witness        Gov. Objection         Def. Response   Other Source
  3009        Intentionally Omitted                                       No objection
  3010        Intentionally Omitted                                       No objection
  3011        Intentionally Omitted                                       No objection
  3012        Intentionally Omitted                                       No objection
  3013        Intentionally Omitted                                       No objection
  3014        Intentionally Omitted                                       No objection
  3015        Intentionally Omitted                                       No objection
  3016        Intentionally Omitted                                       No objection
3017-3099     Placeholder
                                                          10 - OTHERS
                                                                    Cat. 12 – Outdated Govt
  3100        Benefits - All Facilitated by Chan 1020
                                                                            Exhibit
              Benefits - Jacinto Payment Facilitated by             Cat. 12 - Govt. Exhibit
  3101
              Chan 1022                                                    (Ex. 941)
  3102        Intentionally Omitted
              2017-05-11 Call Log - Ambroz CPC 17-5-11
  3103                                                                    No objection
              MINUTE
  3104        Intentionally Omitted
  3105        Intentionally Omitted
                                                                        Cat. 7 – Chiang’s
              2018-04-19 Conversation Chiang, Wang                           Hearsay;
  3106
              Casino_2006998                                          Cat. 11 – Transcript is
                                                                           not evidence
                                                                     Cat. 12 – Outdated Govt
  3107        CD14 Enterprise 1001
                                                                             Exhibit
                                                                     Cat. 12 – Outdated Govt
  3108        2014-2018 Hazens 2014-2018 Timeline
                                                                             Exhibit
  3109        Intentionally Omitted
  3110        Intentionally Omitted
  3111        Intentionally Omitted
  3112        Intentionally Omitted
  3113        Intentionally Omitted

                                                                                                                           37
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 38 of 39 Page ID #:23172
                                            UNITED STATES v. RAYMOND CHAN
                                                   CR 20-236(a)-JFW-2

                                               DEFENDANT’S EXHIBIT LIST

Def. Ex. #                    Description                Witness       Gov. Objection         Def. Response   Other Source
  3114        Intentionally Omitted
  3115        Intentionally Omitted
                                                                   Cat. 12 – Outdated Govt
  3116        Jacinto Timeline
                                                                           Exhibit
                                                                   Cat. 12 – Outdated Govt
  3117        Kuk Timeline
                                                                           Exhibit
              2013-12-19 OA 71 Chan sent Huang
  3118                                                                  No objection
              Donation Form Casino_0027029 - 32
              2018-09-04 to 2018-09-05 OA 78 Both
                                                                    Cat. 11 – Transcript is
  3119        chairmen were generous Casino_1998023-
                                                                         not evidence
              p.35 to37
              2018-10-23 OA 84 Conversation with Kevin                Cat. 8 – Missing
  3120
              on PAC -confirm 2.5k Casino_1999557                       Translation
              2018-11-05 OA 84 Huizar-Ray Chan
                                                                   Cat. 12 - Govt. Exhibit
  3121        2018.11.05 - Event for Richelle
                                                                         (Ex. 364T)
              Casino#2084880
              2015-05-02 OA 163 Recorded Call Esparza,              Cat. 11 – Transcript is
  3122
              Chiang (GE#2393)_Transcript                                not evidence
               2017-06-22 OA 168 Jose's Cuba Trip                   Cat. 11 – Transcript is
  3123
              Casino_0052480-83                                          not evidence
              2017-08-19 OA 206 & 207 1-pager Building
  3124                                                                  No objection
              Permit Explanation Casino_2002518
  3125        Intentionally Omitted
                                                                       Cat. 2 – Def.’s
              2018-04-18 OA 206 & 207 Chan &
                                                                           Hearsay;
  3126        Unknown (George Yu) - 2 more months for
                                                                    Cat. 11 – Transcript is
              1-year ban Casino_1998879
                                                                         not evidence
              2018-05-15 OA 206 & 207 Chan asked Verej
  3127                                                                  No objection
              not to cc BOE email Casino_0040774
              2018-05-17 OA 206 & 207 Chan asked Al to
  3128                                                                  No objection
              bc DWP email Casino_0038808
              2017-05-11 OA 342 Shanghai Construction               Cat. 11 – Transcript is
  3129
              Esparza and Zheng                                          not evidence

                                                                                                                         38
             Case 2:20-cr-00326-JFW Document 985-1 Filed 03/03/23 Page 39 of 39 Page ID #:23173
                                             UNITED STATES v. RAYMOND CHAN
                                                    CR 20-236(a)-JFW-2

                                                 DEFENDANT’S EXHIBIT LIST

Def. Ex. #                   Description                 Witness       Gov. Objection         Def. Response   Other Source
                                                                      Cat. 7 – Chiang’s
              2017-06-21OA 434 Chiang left a message                       Hearsay;
  3130
              for Jason Crocket Casino_0052456                      Cat. 11 – Transcript is
                                                                         not evidence
                                                                      Cat. 7 – Chiang’s
              2017-06-21OA 434 Chan and Chiang re                         Hearsay;
  3131
              $20,000 and Jason Casino_0052469-70                   Cat. 11 – Transcript is
                                                                         not evidence
              2018-09-05 OA 435 Office Interception re             Cat. 12 – Outdated Govt
  3132
              Huizar                                                       Exhibit
              2018-09-12 OA 435 Chan FBI Interview                 Cat. 12 – Outdated Govt
  3133
              (1D240)                                                      Exhibit
                                                                   Cat. 12 – Outdated Govt
  3134        2013-2018 SZNW Timeline
                                                                           Exhibit
  3135        Intentionally Omitted
  3136        Intentionally Omitted
  3137        Intentionally Omitted
              2017-11-06 Text Civetti, Wang re CCC                   Cat. 10 – Improper
  3138
              Contract Casino_0343409                                   Entrapment
3139-3300     Placeholder




                                                                                                                         39
